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                         Case No. 23-3247


                              In the
              UNITED STATES COURT of APPEALS
                    for the SIXTH CIRCUIT
                      _________________

          KEITH JONES, on behalf of himself and all others
                       similarly situated,
                      Plaintiff-Appellee,

                                 v.

            PRODUCERS SERVICES CORPORATION
                   Defendant-Appellant.

           On Appeal from the United States District Court
            for the Southern District of Ohio at Columbus


       APPELLANT’S CORRECTED PRINCIPAL BRIEF


                                      Nicholas Bobb, Esq.
                                      Brendan Feheley, Esq.
                                      Danielle Crane, Esq.
                                      Kegler, Brown, Hill & Ritter
                                      65 E. State Street, Suite 1800
                                      Columbus, Ohio 43215
                                      Telephone: (614) 462-5400

                                      Counsel for Defendant-Appellant


                    Oral Argument Requested
_____________________________________________________________




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                 CORPORATE DISCLOSURE STATEMENT

        Pursuant to the Federal Rules of Appellate Procedure and Sixth Circuit

Rule 26.1, Appellant certifies that Producers Services Corporation is not a

subsidiary or affiliate of a publicly owned corporation, and no publicly owned

corporation that is not a party to this appeal has a financial interest in the outcome.

A Disclosure of Corporate Affiliation and Financial Interest form was previously

filed with this Court on April 10, 2023. (Disclosure of Corp. Affiliations, R. 7).




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                       STATEMENT OF JURISDICTION

      This appeal is properly before this Court pursuant to Fed. R. App. P. 3. The

substantive ruling from which this appeal is taken is the Opinion and Order of the

United States District Court for the Southern District of Ohio, Eastern Division, filed

November 14, 2019 (Opinion and Order, R. 67). That decision held Producers’ Belo

plan invalid and found Producers liable for unpaid overtime under the Fair Labor

Standards Act. However, that Order also found flaws in Plaintiffs-Appellees’ alleged

damages and held the calculation and amount of damages in abeyance for further

briefing and trial. Subsequent to that decision, the parties entered a Consent

Judgment. (Consent Judgment, R. 133). It awarded Plaintiffs-Appellees damages,

fully and finally resolving the case. Defendant timely filed its Notice of Appeal on

March 23, 2023, in accordance with Fed. R. App. P. 4. (Notice of Appeal, R. 134.)




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                             STATEMENT OF ISSUES

        1.    Did Producers pay its employees in accordance with a valid Belo

contract?

        2.    Was there a genuine issue of material fact regarding whether the

irregularity of equipment operators’ work schedules was inherent in the nature of the

work?




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                            STATEMENT OF THE CASE

      This is a matter of first impression within this Circuit. At the heart of this case

is the plan under which Defendant-Appellee Producers Services Corporation

(“Producers”) paid certain equipment operators. Producers maintains that the plan is

a valid Belo plan. Belo plans are a nuanced and rarely litigated exception to the

standard overtime requirements of the FLSA. On cross motions for summary

judgment, the District Court determined that Producers’ plan did not qualify under

Belo because it failed to meet the irregular-hours criteria. Specifically, the District

Court held that the equipment operators’ job duties did not inherently necessitate

irregular hours of work. The District Court granted partial summary judgment to

Plaintiffs-Appellees as to Producers’ liability, from which this appeal is taken.

I.    Factual Background and Producers’ Belo Plan

      Producers is an oil and gas company involved in drilling and pressure

pumping, in Ohio and four other states. (Declaration of Frank Leeper, R. 62, Page

ID # 992, ¶4.) Plaintiffs-Appellees are current and former oilfield technicians for

Producers. (Complaint, R. 1, Page ID # 1–2, ¶ 2.)

      The industry is competitive, and there is competition for skilled, experienced,

and reliable equipment operators. (Leeper Decl., R. 62, Page ID # 993, ¶11.)

Recognizing the volatility in the industry, Producers switched from a traditional

hourly compensation plan to a Belo plan several years ago precisely because it




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wanted to ensure regular, predictable pay for its employees in an industry that can

fluctuate wildly. (Id., ¶¶ 13–15; Deposition of Thomas Parks, R. 60, Page ID # 814,

24:12 – 17.) It found that by offering its employees regular, predictable pay during

economic downturns, it was able to retain good employees.

      Generally, under a Belo plan (named after the U.S. Supreme Court case that

recognized its legitimacy), an employer in an industry “where the work hours

fluctuate from week to week and from day to day” may pay its employees a

consistent weekly amount, so long as that amount incorporates proper hourly rates

and overtime rates, and otherwise comports with federal law. Walling v. A. H. Belo

Corp., 316 U.S. 624, 635 (1942). A fixed wage in an unpredictable industry gives

employees “the security of a regular weekly income” so that they can operate on a

stable budget. Id.

      Under Producers’ Belo plan, the company creates a weekly and biweekly pay

amount for equipment operators, up to 60 hours of work per week. (Parks Depo., R.

60, Page ID # 814, 24:5-11.) First, the company determines the total pay the worker

would be entitled to for working 40 hours per week, by multiplying the standard

hourly rate for its workers by 40 hours. (Id.) Then the company figures the overtime

that worker would be entitled to for 20 additional hours of work per week (hours 41-

60), by multiplying time-and-a-half the regular hourly rate by 20. (Id.) The company

then adds the two numbers together to get the regular weekly pay the employee




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receives for any work less than 60 hours. (Id.) If the employee works more than 60

hours during a week, Producers pays the overtime rate, one-and-a-half times the

standard rate, for all hours over 60. (Id.)

      In short, a Producers’ equipment operator would get a regular paycheck for a

guaranteed amount whether he worked 1 hour per week, 45 hours per week, or 60

hours per week. (Leeper Decl., R. 62, Page ID # 994, ¶ 17.) When there was little or

no work, Producers paid equipment operators their base salary amount (equivalent to

60 hours per week) even though the employees worked fewer hours. (Id. at ¶ 18.)

When there was more work, Producers paid equipment operators their base salary

amount plus overtime if they worked more than 60 hours in a week.

      There is no dispute that the equipment operators’ schedules were irregular.

According to one equipment operator, Casey Foster, there were weeks where he

worked more than 40 hours; and weeks where he worked fewer than 40 hours.

(Deposition of Casey Foster, R. 58, Page ID # 724, 26:14–27:3; Page ID # 729,

48:5–11.) The dispositive issue, then, is the cause of that irregularity.

      Importantly, according to named Plaintiff-Appellee Keith Jones, industry

demand dictated how much work was available to Producers, and therefore available

to Producers’ equipment operators. (Deposition of Keith Jones, R. 61, Page ID #

592, 50:8–51:9.)




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II.   Procedural History

      Plaintiffs-Appellees filed their complaint alleging misclassification of

employees as exempt and claiming standard wage and hour violations under both

Federal and Ohio State law. After being notified of the Belo plan structure, Plaintiffs-

Appellees shifted their argument, alleging that said plan was invalid.

      Belo plans are governed by 29 U.S.C. 207(f), which codified the holding of

the Belo case. When work necessitates irregular hours and the employer pays the

employee pursuant to a plan that meets the requirements of 207(f), then the

employer has not violated the overtime requirements outlined in Section 207(a). To

qualify for the 207(f) exception, an employer’s plan must satisfy four requirements:

      1.     the employee must be employed pursuant to a bona fide
             individual contract;

      2.     the employee’s duties must necessitate irregular work hours;

      3.     the contract must specify a regular rate of pay and compensation
             of not less than one-and-a-half times that rate for hours in excess
             of a maximum workweek (40 hours); and

      4.     the contract must contain a weekly pay guarantee, based on the
             specified rates, for not more than sixty hours of work.

29 U.S.C. § 207(f); see also Schweninger v. Advanced Vision Tech., Inc., 273 F.

Supp. 3d 946, 950 (N.D. Ill. 2017). Plaintiffs-Appellees alleged that Producers’ Belo

plan did not satisfy the second and third requirements of 207(f), irregular hours




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necessitated by the work and overtime pay of one-and-a-half times the regular rate

for hours worked above 40.

      Once discovery was concluded, the parties filed cross motions for summary

judgment on the validity of Producers’ Belo plan. Producers argued that its Belo plan

met all requirements under the 207(f) test. Specifically relevant to Plaintiffs-

Appellees’ arguments and the District Court’s rulings on those motions, Producers

argued that its Belo plan satisfied the second prong of the 207(f) test, because the

duties of the equipment operators’ jobs necessitated irregular work hours.

      In support of its argument, Producers relied on the pay records and deposition

testimony of several equipment operators, including Casey Foster, Nathaniel Jones,

and named plaintiff Keith Jones. (Producers’ MSJ, R. 62, Page ID #983–985.) That

testimony established that these fluctuations were caused by the nature of the work,

not scheduling decisions made by Producers. (Id.) Producers also filed the following

relevant deposition transcripts with the District Court in support of its Motion: Jesus

Casarez and Thomas Parks. (Deposition Transcripts, R. 57, 58, 59, 60, 61.)

      In opposition, Plaintiffs-Appellees argued (among other things) that

Producers’ own scheduling practices were the cause of the fluctuations and

Producers’ regular rate of pay did not include bonuses for purposes of overtime

calculations.




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      More specifically, Plaintiffs-Appellees argued that affording equipment

operators the option to choose when to take their “weekends” or “off time” (either

every week or every two weeks) was a deliberate manipulation of work irregularity.

(Pls.’ MPSJ, R. 53, Page ID # 637–638.) Importantly though, that argument was

largely unsupported by the record. They also argued that Producers should have, but

did not, include stage and quarterly bonuses in overtime calculations because those

bonuses were not discretionary.

      In its November 14, 2019 Opinion and Order, the District Court ruled that

Producers’ Belo plan was invalid. It based this ruling on its determination that the

duties of Producers’ employees did not necessitate irregular hours of work. (Opinion

and Order, R. 67, Page ID # 1116.) Because the District Court found that Producers’

plan did not meet one of the four elements for a valid Belo plan (irregular hours

necessitated by the nature of the work), it did not address the other three elements

and denied Producers’ Cross-Motion for Summary Judgment.

      The District Court acknowledged that Plaintiffs-Appellees worked irregular

hours; but it determined that the irregularities resulted from employer and/or

employee discretion rather than from work requirements. “This situation was not one

where the hours depended on irregular and unpredictable occurrences outside of the

employer’s control….” (Opinion and Order, R. 67, Page ID # 1116.) It reached its

conclusion despite acknowledging those parts of the record where multiple




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equipment operators (and opt-in plaintiffs) agreed that the number of hours they

worked was determined by the nature of the work. (Id., Page ID # 1104–1106.) In

finding this evidence “unpersuasive,” the Court concluded that the testimony was

vague and did not provide an explanation as to “what about the work causes such

fluctuation.” (Id., R. 67, Page ID # 1115–1116.)

      Producers appeals that decision.




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                        SUMMARY OF THE ARGUMENTS

         Producers paid its equipment operators under a valid Belo plan. The nature of

the oilfield industry meant that some weeks workers would have more than 40 hours

of work, and other weeks they would not. Those fluctuations are inherent to the

nature of Producers’ industry and are not the result of creative scheduling. Producers

submitted substantial evidence of the same, as well as all other requirements to

demonstrate that its Belo plan was valid. As such, the District Court erred in

denying summary judgment in Producers’ favor.

         If the District Court believed that creative scheduling was the cause of the

irregular work hours, there was record evidence to the contrary. That evidence

includes testimony from at least three plaintiffs that the nature of their work was the

cause of their irregular schedules. As such, the District Court erred in granting

summary judgment in Plaintiff-Appellees’ favor and should have set the case for

trial.




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                                   ARGUMENT

I.    Standard of Review: De Novo

      Producers appeals the District Court’s denial of its summary judgment motion

and the granting of Plaintiffs-Appellees’ summary judgment motion. Both issues

were decided upon summary judgment and are therefore reviewed under the same de

novo standard. Biegas v. Quickway Carriers, Inc., 573 F.3d 365, 373-74 (6th Cir.

2009).

      Summary judgment is appropriate “if the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as

to any material fact and that the movant is entitled to judgment as a matter of law.”

Fed.R.Civ.P. 56(C). A genuine issue of material fact exists when there are “disputes

over facts that might affect the outcome of the suit under the governing law.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      After the parties have presented the evidence, “the judge’s function is not

himself to weigh the evidence and determine the truth of the matter, but to determine

whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249. In evaluating

the evidence, the court must draw all inferences in the light most favorable to the

non-moving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986).




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        This Court previously summarized the District Court’s role on summary

judgment as follows:

        The burden is generally on the moving party to show that no genuine
        issue of material fact exists, but that burden may be discharged by
        “showing — that is, pointing out to the district court — that there is an
        absence of evidence to support the nonmoving party's case.” Celotex
        Corp. v. Catrett, 477 U.S. 317, 325, 106 S.Ct. 2548, 91 L.Ed.2d 265
        (1986) (internal quotation marks omitted). In reviewing a summary
        judgment motion, credibility judgments and weighing of the
        evidence are prohibited. Rather, the evidence should be viewed in the
        light most favorable to the non-moving party. Anderson v. Liberty
        Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).
        Thus, the facts and any inferences that can be drawn from those facts[]
        must be viewed in the light most favorable to the non-moving party.
        Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587,
        106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). (Emphasis added.)

Biegas, 573 F.3d at 374 (quoting Bennett v. City of Eastpointe, 410 F.3d 810, 817

(6th Cir. 2005)).

        When there are cross motions for summary judgment, each is reviewed under

the Celotex standard and evaluated on its own merits. La Quinta Corp. v. Heartland

Props. LLC, 603 F.3d 327, 335 (6th Cir. 2010). Here, both issues are reviewed de

novo.




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II.   Producers paid its equipment operators under a valid Belo plan.

      The District Court erred in denying Producers’ Motion for Summary

Judgment. Producers’ Belo plan was properly crafted to meet all four requirements

of 207(f) and except it from the typical overtime requirements of the FLSA.

      Belo plans are governed by 29 U.S.C. 207(f), which codified the holding of

the Belo case. That provision states:

      (f) Employment necessitating irregular hours of work
      No employer shall be deemed to have violated subsection (a) by
      employing any employee for a workweek in excess of the maximum
      workweek applicable to such employee under subsection (a) if such
      employee is employed pursuant to a bona fide individual contract . . . if
      the duties of such employee necessitate irregular hours of work, and the
      contract or agreement (1) specifies a regular rate of pay of not less than
      the minimum hourly rate provided in subsection (a) or (b) of section
      206 of this title (whichever may be applicable) and compensation at not
      less than one and one-half times such rate for all hours worked in
      excess of such maximum workweek, and (2) provides a weekly
      guaranty of pay for not more than sixty hours based on the rates so
      specified.

29 U.S.C. § 207(f).

      At the District Court level, Plaintiffs-Appellees argued that Producers’ Belo

plan failed in two respects: (1) employees’ work did not necessitate irregular work

hours; and (2) the regular rate specified under the Belo plan did not account for

certain bonuses. Based on those arguments, the parties agree that Producers’ Belo




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plan satisfied requirements 1 and 4 of the 207(f) test. Prongs two and three were

disputed, raising the questions of whether the employee’s duties necessitated

irregular working hours and whether the regular rate specified by the parties’

agreement properly excluded bonuses paid to employees.

      A.     The equipment operator’s job duties inherently necessitated irregular
             working hours.

      Under 29 U.S.C. § 207(f), to have a valid Belo plan, employees’ work hours

must fluctuate both above and below 40 hours per week for reasons inherent in the

nature of the work. Those fluctuations must be “beyond the employer’s control” and

not the result of “vacations, holidays, illness, or reasons personal the employee.” 29

C.F.R. § 778.405.

      The parties do not dispute that Plaintiffs-Appellees’ work hours fluctuated

both above and below 40 hours. (Opinion and Order, R. 67, Page ID # 1113.) Rather

the dispositive question is “what caused the fluctuation?”

      Based upon the employees’ own testimony, it is clear that fluctuations below

40 hours were the result of the nature of their work. Plaintiff-Appellee Casey Foster

confirmed this:

      Q:     And the fluctuation in the number of hours per week that you
             worked was a result of the work, right, how much there was to do
             and—

      FOSTER:       Right.

(Foster Depo., R. 58, Page ID # 734, 66:22–67:1.)



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      Plaintiff-Appellee Nathaniel Jones had the same response.



      Q:     So is it fair to say that how many hours you worked in a given
             week over the course of your employment was just determined
             by the work, right?

      N. JONES: Yes.

(N. Jones Depo., R. 59, Page ID # 787–788, 97:9–98:4.)

      Named Plaintiff-Appellee Keith Jones echoed their sentiment and provided

this explanation that the District Court ignored:

      Q:     So, this is from September 1st, 2015 through—this is just an
             excerpt actually. So, you’ll see at the bottom, it says 2 of 7 pages.
             So, what I’ve printed out is October—well, September 29th,
             2015, and you’ll see that on the week of October 11th, 2015
             through October 17th of 2015, you have 22 hours worked for that
             week. Do you believe that this record is accurate?

      K. JONES: I believe so.

      Q:     So you would agree with me this is an example of a work week
             that was less than 40 hours?

      K. JONES: Yeah.

      Q:     Do you have any idea what would have caused the decrease in
             these hours?

      K. JONES: Not having work.

      Q:     What do you mean not having work?

      K. JONES: Not having a job to—a well to service.

      Q:     Why wouldn’t you have a well to service?



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      K. JONES: Because of the downturn.


      Q:    Downturn in the industry?

      K. JONES: Yes.

      Q:    On this very same sheet, you can see from October 4th through
            October 10th, you have 97 hours. That’s well over 40, right?

      K. JONES: Correct.

      Q:    Do you have any idea what would have caused the increase in
            the hours that week?

      K. JONES: We were busy that week.

(K. Jones Depo., R. 61, Page ID # 592, 50:8–51:9.)

      Plaintiffs-Appellees’ testimony demonstrates that the fluctuation in hours was

the result of industry demand for well services—not Producers’ choices. If there was

industry demand for well services, equipment operators worked more than 40 hours

per week. If such demand waned or mechanical problems developed on-site,

equipment operators worked less than 40 hours per week. This was true regardless of

whether an equipment operator elected a one- or two-week work cycle.

      The District Court’s discussion of the record dealt with Casey Foster and

Nathaniel Jones’ testimony, but did not address Keith Jones’ testimony. Ignoring

Keith Jones’ testimony led the District Court to incorrectly deny Producers’ Motion

for Summary Judgment. (Opinion and Order, R. 67, Page ID # 1115–1116.)




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      B.      The payment of discretionary bonuses did not invalidate Producers’
              Belo plan.

      Under the FLSA, “the regular rate at which an employee is employed shall be

deemed to include all remuneration for employment paid to, or on behalf of, the

employee,” with certain enumerated exceptions. 29 U.S.C. § 207(e). Of note for

present purposes, the regular rate does not include amounts paid to the employee at

the sole discretion of the employer. 29 U.S.C. § 207(e)(3).

      Under its Belo plan, Producers paid its oilfield technicians a guaranteed bi-

weekly amount of $1,538.40 for all hours worked up to 60 hours. This figure is

equivalent to an hourly rate of $10.99 for the first 40 hours, a time-and-a-half rate of

$16.48 for hours 41-60. (Leeper Decl., R. 62, Page ID # 992, ¶ 24.)

      In addition to full regular pay and overtime compensation, Producers paid its

equipment operators discretionary bonuses. Plaintiffs-Appellees argued that the

payment of those discretionary bonuses invalidated the Belo plan.

      Specifically, Plaintiffs-Appellees argued that Producers’ stage bonuses and

quarterly bonuses were not discretionary. (Pls.’ Br. in Supp. of MSJ, R. 55, Page ID

# 661–664.)

      In making that argument, Plaintiffs-Appellees relied on at least four federal

regulations, including 29 CFR § 778.211, 29 CFR § 778.108, 29 CFR § 778.109, 29

CFR § 778.110. (Id., Page ID # 659–662.) Notably absent from that list, though, is

the federal regulation that controls: 29 CFR § 778.408. It states:



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      In order to qualify as a “regular rate” under section 7(f) the rate
      specified in the contract together with the guarantee must be the actual
      measure of the regular wages which the employee receives. However,
      the payment of extra compensation, over and above the guaranteed
      amount, by way of … year-end bonuses and similar payments
      which are not regularly paid as part of the employee’s usual wages,
      will not invalidate a contract which otherwise qualifies under
      section 7(f).

29 C.F.R. § 778.408(d) (emphasis added).

      The dispositive question for this line of inquiry is: were the bonuses “regularly

paid as part of the employee’s usual wages”? According to Plaintiffs-Appellees’

testimony, they were not.

      Casey Foster testified multiple times that Producers had discretion not to pay

bonuses and that it exercised such discretion. (Foster Dep., R. 58, Page ID # 722,

21:14–20; Page ID # 731, 55:25–56:6; Page ID #735, 71:24–72:15.) Nathaniel Jones

likewise testified that Producers had discretion not to pay bonuses and that it

exercised such discretion. (N. Jones Dep., R. 59, Page ID # 774, 44:15–20; Page ID

# 778, 61:6–17.) Keith Jones did, too. (K. Jones Dep., R. 61, Page ID # 950, 44:6–

24; Page ID # 951, 46:6–19, Page ID # 958, 76:13–77:20.)

      According to Keith Jones, no one at Producers ever guaranteed its workers a

bonus.

      Q.    Did anyone at Producers ever guarantee you a bonus?

      K. JONES. No.

(Id., Page ID # 951, 48:19–21.)




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      Producers’ 30(b)(6) witness, Thomas Parks, also testified that the bonuses –

whether stage or quarterly – were discretionary. (Parks Depo., R. 60, Page ID # 817

– 818, 37:25–41:12.) He identified reasons the quarterly bonuses were not paid and

said they were discretionary among management. (Id., Page ID # 818, 39:4–9.) He

also identified reasons and times when stage bonuses were not paid, despite workers

completing the stages. (Id., Page ID # 818, 39:10–41:12.)

      The record, including Plaintffs-Appellees’ testimony shows that the bonuses

were not guaranteed. Producers retained the discretion to give or not give a bonus,

and there were pay cycles where Producers exercised that discretion. As such, the

bonuses were paid in accordance with 29 C.F.R. § 778.408(d) and did not invalidate

Producers’ Belo plan.

      Plaintiffs-Appellees attacked Producers’ Belo plan on two prongs. First, they

argued that the irregularity of the hours was caused by creative scheduling. That is

not the case. The hours were the result of the boom-and-bust cycles in the industry

and mechanical problems outside Producers’ control. Second, they argued that the

payment of certain bonuses were regularly paid as part of the equipment operators’

usual wages. They did not. Those bonuses were paid at the company’s discretion,

and the company exercised that discretion from time to time.

      Based on the foregoing, the District Court erred when it denied Producers’

Motion for Summary Judgment. This Court should reverse that decision and order




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summary judgment in Producers’ favor.

III.   At the very least, genuine issues of material fact existed relative to
       whether Producers controlled the irregularity of its workers’ schedules.

       If this Court is not inclined to order summary judgment in Producers’ favor, it

should still overturn the District Court’s decision granting Plaintiffs-Appellees’

Motion for Summary Judgment. The parties do not dispute that Plaintiffs-Appellees’

work hours fluctuated both above and below 40 hours. (Opinion and Order, R. 67,

Page ID # 1113.)

       Instead, the cause for such irregularity—an issue of fact—was disputed by

both parties in their cross motions for summary judgment. Both parties identified

record evidence related to the cause of the irregular work hours. Despite that dispute,

Producers submits that the record, taken in total, shows the dispute is one of

principal, not substance.

       Plaintiffs-Appellees argued that “Plaintiffs’ schedules did not fluctuate as

required by the Belo plan structure. Plaintiffs’ schedules fluctuated according to the

scheduling practices of Defendant.” (Plaintiffs-Appellees’ MPSJ, R. 52, Page ID #

284–285.) Because this is an issue of first impression in this district, Plaintiffs-

Appellees relied heavily on Donovan v. Welex, 550 F. Supp. 855 (S.D. Tex. 1982). In

that case, employees provided mathematical evidence in support of their motion for

summary judgment showing that, in all but three weeks over a three-year period,

fluctuations of hours below 40 were attributable to vacations and scheduled off days.




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Id. at 857. Stated differently, in only .02% of weeks over the course of three years

was the fluctuation under 40 hours due to work requirements. Id.

      Attempting to analogize to the Welex case, Plaintiff-Appellees submitted pay

records of DeAngelo Adams and other employees from 2015 to show instances of

weeks with fewer than 40 hours that were also weeks where the employees had

scheduled days off. (Pls.’ Resp. to Def.’s MSJ, R. 64, Page ID #1029.)

      But these records were not analogous to the Welex evidence. Notably, these

samples came from only one year: 2015. That excludes the two years closest in time

to the filing of this case. Additionally, the samples were just that—a small, hand-

picked sample of weeks which allowed Plaintiffs-Appellees apophenia to run wild.

      Plaintiffs-Appellees did not provide any insight to other weeks of work that

fluctuated below 40 hours; nor did they provide any evidence that this “pattern”

accounted for a significant number of the weeks where employees’ hours fluctuated

below 40. (Def.’s Reply in Supp. of MSJ, R. 66, Page ID # 1101.) In fact, in a

footnote, Plaintiffs-Appellees admitted that there were weeks where employees’

hours fell under 40 hours for reasons that were “not the result of scheduled days

off.” (Pls.’ Resp. to Def.’s MSJ, R. 64, Page ID # 1031.)

      Contrary to the District Court’s findings, Producers did identify the reason for

the fluctuation of hours: sometimes there was work for the equipment operators, and

sometimes there was not. In fact, multiple plaintiff-equipment operators confirmed




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that the fluctuation was caused by the nature of the work, not Producers’ scheduling.

Casey Foster put it this way:

      Q:      And the fluctuation in the number of hours per week that you
              worked was a result of the work, right, how much there was to do
              and—

      FOSTER:       Right.

(Foster Dep. 66:22 – 67:1.)

Nathaniel Jones had the same response:

      Q:      So is it fair to say that how many hours you worked in a given
              week over the course of your employment was just determined
              by the work, right? How much work there was to do?

      N. JONES: Yes.

                    ***

      Q:            It was all driven by the work, right?

      N. JONES: Yes.

(Nathaniel Jones Dep. 97:9 98:4.)

      And, as noted above, named plaintiff Keith Jones testified that the hours

fluctuated based on the amount and nature of the work available to Producers, not

scheduling choices made by the company. (K. Jones Depo., R. 61, Page ID # 592,

50:8–51:9.)

      Despite this, the District Court found that there was no genuine issue of

material fact regarding the cause of the equipment operators’ irregular schedules. It




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concluded that those fluctuations occurred because of Producers’ scheduling model.

But that cannot be the case. Producers identified multiple portions of the record that

demonstrate the fluctuations in the equipment operators’ schedules were inherent in

the nature of the work, not the whim of Producers.

      Assuming, arguendo, that the District Court’s determination was correct, it

would serve only to defeat Producers’ Motion for Summary Judgment not as good

grounds to grant summary judgment in Plaintiffs-Appellees’ favor. In order to

uphold the District Court’s decision, there must be no genuine issue of material fact,

meaning the record must not have evidence that the cause of the irregularities was

the nature of the work. But such evidence is in the record—from Plaintiffs-

Appellees’ own mouths.

      Given the testimony from three of the plaintiffs, the District Court’s decision

necessarily ignored or improperly weighed evidence. Under Biegas, such evidentiary

weighing is impermissible. Instead, the District Court was required to draw all

inferences in the light most favorable to the non-moving party, Producers.

Matsushita, 475 U.S. at 587. As such, this Court should reverse the District Court’s

decision granting summary judgment in Plaintiffs-Appellees’ favor.




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                                  CONCLUSION

      The oilfield industry operates in boom-and bust cycles. In addition to that, it is

subject to stoppages resulting from mechanical failures. Those externalities

influence the amount of work available to Producers, and ultimately the number of

hours its equipment operators worked. Because those fluctuations are inherent to the

work, Producers paid its equipment operators, Plaintiffs-Appellees, under a valid

Belo plan.

      In addition to their wages under the Belo plan, Producers paid its equipment

operators discretionary bonuses. The workers understood those bonuses were

discretionary, and they experienced pay periods where Producers exercised its

discretion and did not pay bonuses. As such, the bonuses do not render Producers’

Belo plan invalid.

      With those two arguments resolved in Producers’ favor, there remains no

question that Producers paid its equipment operators in compliance with the law. As

such, Defendant-Appellant Producers Services Corporation, respectfully request that

the District Court’s Order granting summary judgment in Plaintiffs-Appellees’ favor

be reversed and summary judgment ordered in Producers’ favor.




                         [Signature block on following page.]




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                         Respectfully submitted,

                         s/ Nicholas S. Bobb
                         Brendan Feheley            (0079107)
                         Nicholas S. Bobb           (0090537)
                         Danielle M. Crane          (0098994)
                         KEGLER, BROWN, HILL + RITTER
                         65 East State Street, Suite 1800
                         Columbus, Ohio 43215
                         Phone: (614) 462-5400
                         Fax: (614) 464-2634
                         bfeheley@keglerbrown.com
                         nbobb@keglerbrown.com
                         dcrane@keglerbrown.com

                         Counsel for Defendant-Appellant Producers
                         Services Corp.




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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief complies with the type-volume

limitation provided in Fed.R.App.P. 32(a)(7)(B)(i). Excluding the parts of the

document exempted by Fed.R.App.P. 32(f), the foregoing brief contains 4,885 words

and is 24 pages long.




This document complies with the typeface requirements of Fed.R.App.P. 32(a)(5)

and the type-style requirements of Fed.R.App.P. 32(a)(6) because it has been

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                                     s/ Nicholas S. Bobb
                                     Nicholas S. Bobb            (0090537)




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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and accurate copy of the

foregoing Appellant’s Corrected Principal Brief was filed this 25th day of May,

2023, using the CM/ECF system which will send electronic notification to all

counsel of record.



                                     s/ Nicholas S. Bobb
                                     Nicholas S. Bobb           (0090537)




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                                      ADDENDUM

  APPELLANT PRODUCERS SERVICES CORPORATION’S DESIGNATION
          OF RELEVANT DISTRICT COURT DOCUMENTS

       Description of Document              Record Entry on             Page ID #
                                          District Court Docket
Complaint                                          R. 1                    #1-2

Plaintiffs’ Motion For Partial Summary              R. 53               #637-638
Judgment
Plaintiffs’ Brief in Support of MSJ                 R. 55               #661-664

Deposition of Jesus Casarez                         R. 57               #667-716

Deposition of Casey Foster                          R. 58           #722; #724; #729;
                                                                     #731; #734-735
Deposition of Nathaniel Jones                       R. 59           #774; #778; #787-
                                                                           788
Deposition of Thomas Parks                          R. 60             #814; #817-818

Deposition of Keith Jones                           R. 61            #592; #950-951;
                                                                          #958
Defendant’s    Motion   for   Summary               R. 62               #983-985
Judgment
Declaration of Frank Leeper                         R. 62               #992-994

Plaintiffs’ Response to Defendant’s                 R. 64             #1029: #1031
MSJ
Defendant’s Reply in Supp. of MSJ                   R. 66                 #1101

November 14, 2019 Opinion and Order                 R. 67             #1113; #1115-
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Consent Judgment                                   R. 133              #1427-11429

Notice of Appeal                                   R. 134              #1430-1431




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